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 5                         UNITED STATES DISTRICT COURT
 6                       EASTERN DISTRICT OF WASHIGNTON
 7
 8 RUSSELL DUANE MCNEIL                               No. CV-13-3065-CI

 9                      Petitioner,                   ORDER DIRECTING SERVICE
10 vs.                                                ***ACTION REQUIRED***
11 MAGGIE MILLER-STOUT,
12
                Respondent.
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14   Petitioner, a prisoner at the Airway Heights Corrections Center, is represented by
15   Lenell Nussbaum. The Petition for Writ of Habeas Corpus by a Person in State
16   Custody pursuant to 28 U.S.C. § 2254 was filed upon receipt of the $5.00 filing fee
17   on June 25, 2013, ECF No. 1. At this time, IT IS ORDERED:
18         1. Pursuant to Rule 4, Rules Governing Section 2254 Cases in the United
19   States District Courts, the District Court Executive shall serve copies of this Order,
20   the petition and all supporting documents on Respondent and the Office of the
21   Attorney General for the State of Washington, Criminal Justice Division. All costs
22   of service shall be advanced by the United States.
23         2. Respondent shall file and serve an answer within FORTY-FIVE (45)
24   days of receipt of a copy of this Order. See Rule 5, Rules Governing Section 2254
25   Cases in the United States District Courts. Respondent should state in the answer
26   whether Petitioner has exhausted available state remedies, whether an evidentiary
27   hearing is necessary, whether there is any issue of abuse or delay under Rule 9,
28   Rules Governing Section 2254 Cases in the United States District Courts, and

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 1   discuss the availability of transcripts.   Respondent shall attach to the answer
 2   portions of the transcripts deemed relevant. IF RESPONDENT CHOOSES TO
 3   PROCEED BY MOTION TO DISMISS RATHER THAN ANSWER, THE
 4   MOTION SHALL BE STYLED AS ONE UNDER RULE 8, RULES
 5   GOVERNING SECTION 2254 CASES IN THE UNITED STATES DISTRICT
 6   COURT.
 7         3. The District Court Executive shall set a case management deadline
 8   sixty (60) days after the date of this Order.
 9         The District Court Executive is directed to enter this Order and forward a
10   copy to counsel.
11         DATED June 28, 2013.
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13                            S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
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